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       Attorney(s) for Digital Verification Systems, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
   9

  10
        DIGITAL VERIFICATION
        SYSTEMS, LLC,                                  CASE NO.: 8:22-cv-00854-JVS-ADS
  11
                            Plaintiff,                 PATENT CASE
  12
        v.
  13

  14    KOFAX, INC.,                                   NOTICE OF VOLUNTARY
                                                       DISMISSAL WITHOUT
  15                        Defendant.                 PREJUDICE
  16

  17

  18         Digital Verification Systems, LLC (“Plaintiff” and/or “DVS”) files this Notice
  19   of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil Procedure
  20   41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed by the
  21   plaintiff without order of court by filing a notice of dismissal at any time before service
  22   by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily dismisses
  23   this action against Defendant Kofax Inc. without prejudice, pursuant to Rule
  24   41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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   1   Dated: June 28, 2022                     Respectfully submitted,
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                                                /s/Stephen M. Lobbin
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   8                                            Attorney(s) for Plaintiff

   9
                                   CERTIFICATE OF SERVICE
  10
             I hereby certify that on June 28, 2022, I electronically filed the above
  11
       document(s) with the Clerk of Court using CM/ECF which will send electronic
  12
       notification of such filing(s) to all registered counsel.
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  14                                            /s/Draft
  15                                            Stephen M. Lobbin
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
